Case 2:21-cv-10225-NGE-PTM ECF No. 177-1, PageID.2167 Filed 08/30/24 Page 1 of 3




                    EXHIBIT 1
     Case 2:21-cv-10225-NGE-PTM ECF No. 177-1,
                                        159-3, PageID.2168
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                                  Anthony Craig West
                                      05/26/2022                                    ·
·1· · · · · · · · ·UNITED STATES DISTRICT COURT

·2· · · · · · ·FOR THE EASTERN DISTRICT OF MICHIGAN

·3

·4· ·ANTHONY CRAIG WEST (#745796),

·5· · · · · · · · · Plaintiff,

·6· · · · -vs-· · · · · · · · Case No. 2:21-cv-10225

·7· · · · · · · · · · · · · · · ·Hon. Nancy G. Edmunds

·8· · · · · · · · · · · · · · · ·Mag. Judge Jonathan JC Grey

·9· ·EMILY CHOGE; HENRY FENRICK;

10· ·ROSILYN JINDAL, JESAKA

11· ·DAVITT-WEBSTER, JONG CHOI

12· ·and JANET CAMPBELL,

13· · · · · · · · · Defendants.

14· ·_____________________________________/

15· ·PAGE 1 TO 83

16

17· · · · The deposition of ANTHONY CRAIG WEST,

18· · · · Taken Via Hanson Remote

19· · · · Commencing at 10:00 a.m.,

20· · · · Thursday, May 26, 2022

21· · · · Before Wendy A. Boer CSR 3505.

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23· · Court reporter, attorneys & witness appearing remotely.

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                                Case 2:21-cv-10225-NGE-PTM ECF No. 177-1,
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